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\, Massachusetts Department of Public Health | COVID-19 Dashboard ere ld alla one

Hospitalizations from COVID-19 Caution: recent data may be incomplete

Navigation Hospitalizations ICU & Intubation Patient Demographics Bed Occupancy

Today's Overview Number of COVID-19 patients in the hospital,
7-day average, and Patients reported to be fully vaccinated: Last six months

 

 

 

 

 

 

 

 

 

 

 

Hospitalizations

 

 

Overview Trends On March 28, 2022 there were 215 “Data on patients reported to be fulled vaccinated were first collected on 8/16/2021 and are not available for prior
patients hospitalized for COVID-19. dates.
COVID-19 Cases Of those 215 patients, 131 (61%)
; were reported to be fully vaccinated 3,000 -
COVID-19 Testing for COVID-19 when they contracted
COVID-19.
Hospitalizations 2,500 -
Of those 215 hospitalized patients,
COVID-19 Deaths 81 (38%) were primarily hospitalized > 000
for COVID-19 related illness.** ,
Higher Ed & LTCF
1,500-
Patient Breakdown
Graph selections 1,000-
City & Town Data Time period
nae Last six months v 500
Data Archive | a range pai rh |S
Oct 1, 21 Nov 1, 21 Dec 1, 21 Jan 1, 22 Feb 1, 22 Mar 1, 22 Apr 1, 22

 

 

 

“Patients are reported as being hospitalized due to COVID-19 if they received dexamethasone treatment. Administration of dexamethasone, a type of steroid medication, is
considered an indicator of moderate to severe COVID-19 and provides an estimate of primary COVID-19.

Hospitalization data provided by the MDPH hospital survey (survey data are self-reported by hospitals).NOTE: Self-reported hospital data are generally posted the next day. Friday's
data are posted on Monday and Saturday-Monday data are posted Tuesday. Data are reported and shown broken-down by day, including Saturday and Sunday. All data included in
this dashboard are preliminary and subject to change. Created by the Massachusetts Department of Public Health, Bureau of Infectious Disease and Laboratory Sciences, Division of
Surveillance, Analytics and Informatics.
